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                                 Exhibit 4



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                               Page 1
                UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

    ----------------------------------X

    In Re: PHARMACEUTICAL INDUSTRY      )

    AVERAGE WHOLESALE PRICE LITIGATION)

    ----------------------------------X MDL No. 1456

    THIS DOCUMENT RELATES TO:           ) Master File No.

    United States of America ex rel.    ) 01-CV-12257-PBS

    Ven-A-Care of the Florida Keys,     ) Subcategory Case

    Inc., et al. v. Dey, Inc., et al.,) No. 06-11337

    Civil Action No. 05-11084-PBS       ) Hon. Patti B.

    ----------------------------------X Saris



         VIDEOTAPED DEPOSITION OF:    ALLEN D. CHAPMAN

                      December 15, 2008

          PURSUANT TO AMENDED NOTICE AND SUBPOENA,

    the deposition of ALLEN D. CHAPMAN was taken on

    behalf of Defendant Dey, Inc., at 1701 California

    Street, Silverton Room, Denver, Colorado 80202, on

    December 15, 2008, at 10:06 a.m., before Tammie E.

    Singer, Professional Court Reporter and Notary

    Public within Colorado.




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                                                                               Page 2
  1
                             A P P E A R A N C E S
  2

  3
      For the Plaintiff:
  4
               GEJAA T. GOBENA, ESQ.
  5
               United States Department of Justice
  6
               Office of Assistant Attorney General
  7
               Civil Division
  8
               Commercial Litigation Branch
  9
               P.O. Box 261, Ben Franklin Station
10
               Washington, D.C. 20044
11

12
      For the Relator:
13
               JARRETT ANDERSON, ESQ.
14
               Anderson LLC
15
               208 W. 14th Street, Suite 203
16
               Austin, Texas 78701
17

18
      For Defendant Dey:
19
               CLIFFORD KATZ, ESQ.
20
               Kelley Drye & Warren LLP
21
               101 Park Avenue
22
               New York, New York 10178

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                                                                           Page 107
  1
      that rebates are paid subsequent to the
  2
      transaction --
  3
               A.     Right, irregardless of who they are
  4
      paid to.
  5
               Q.     Right.      Okay.      And that was something
  6
      that you were aware of in the 1980s about these
  7
      rebates subsequently paid, right?
  8
               A.     Correct.
  9
               Q.     Now I would like you to take a look at
10
      the last page of this letter.                   And if you look at
11
      the second-to-the-last paragraph, second
12
      sentence, it says, "For multiple-source drugs, I
13
      would make extensive use of state upper limits as
14
      neither the FUL or AWP mean anything for generic
15
      drugs."
16
                      Do you agree with Mr. Hazelwood's
17
      statement that the AWP does not mean anything for
18
      generic drugs?
19
                      MR. ANDERSON:          Objection, form.
20
               A.     I guess my comment was there's probably
21
      more of a variation between AWP and actual cost
22
      with generic than there are the other.

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                                                                           Page 108
  1
               Q.     (BY MR. KATZ)          "The other" would be
  2
      brand?
  3
               A.     Brand -- no -- the other would be
  4
      brand, right, but --
  5
               Q.     And that was something you were aware
  6
      of going back to the 1980s?
  7
               A.     I think that -- but I guess what I
  8
      think he's -- what he was talking about in this
  9
      memo was a push to try to have state MACs for
10
      generic products that the federal government did
11
      not have federal upper limits for and the basis
12
      for that.
13
               Q.     And the --
14
               A.     This is what he's really trying to do
15
      here.
16
               Q.     And the reason for having state maximum
17
      allowable cost or federal upper limits for
18
      generic drugs is that it was known that the AWPs
19
      for generic drugs exceeded the actual acquisition
20
      costs of providers, right?
21
               A.     I'm not sure that --
22
                      MR. ANDERSON:          Objection --

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                                                                           Page 136
  1
               Q.     Do you see where it says, "If the AWP
  2
      spread disappears, the dispensing fee may have to
  3
      be increased"?
  4
                      MR. ANDERSON:          Objection, form.
  5
               A.     I see that.
  6
               Q.     (BY MR. KATZ)          Is that something that
  7
      Colorado Medicaid considered when considering
  8
      changes to its reimbursement methodology?
  9
                      MR. ANDERSON:          Objection, form.
10
               A.     Not specifically.            I don't remember it
11
      that way.
12
               Q.     (BY MR. KATZ)          Okay.      I would like you
13
      to go back to Dey Exhibit 355.
14
               A.     Where are we?
15
               Q.     Dey Exhibit 355.
16
               A.     Okay.
17
               Q.     And the last paragraph in this document
18
      refers to a survey which indicated the cost of
19
      dispensing to be $4.58 for pharmacies.
20
               A.     Okay.
21
               Q.     Now, at this time, Colorado Medicaid
22
      had a dispensing fee of only $4.08, right?

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                                                                           Page 221
  1
               Q.     And do you recall how you first learned
  2
      that AWP was not an actual average of wholesale
  3
      prices?
  4
               A.     Probably from conversations and
  5
      observation.         But I guess I should say that in
  6
      all of -- in most of my career leading up to when
  7
      I went to work for Medicaid, AWP wasn't something
  8
      that I spent much time talking about since we
  9
      always had contracts.
10
               Q.     And the contracts were prices that were
11
      below AWP, right?
12
               A.     Were expected to be, yes, because of
13
      the fact that we were a governmental agency or we
14
      were part of a consortium of University Hospitals
15
      during the later time in my days at University.
16
               Q.     And at the University, did you have any
17
      feeling -- I'm not asking for a precise number,
18
      but just any feeling for how much lower than AWP
19
      the prices that the hospital got?
20
                      MR. ANDERSON:          Objection, form.
21
               A.     No, I don't have a number.
22
               Q.     (BY MR. BERLIN)           Well, even if you

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                                                                           Page 222
  1
      don't have a number, I'm asking just for a
  2
      general area.          I mean, was it your feeling it was
  3
      10 percent below or 50 percent below or 80
  4
      percent below?           Can you give any sort of an
  5
      estimate?
  6
               A.     No.
  7
               Q.     While you were working for the hospital
  8
      -- in other words, prior to your employment with
  9
      Medicaid, did you have an understanding that
10
      there were substantial discounts below AWP?                               And
11
      by substantial, I mean it's not just 5 percent,
12
      but there may be 20 or 30 or even 50 percent
13
      below AWP?
14
                      MR. ANDERSON:          Objection, form.
15
               A.     I guess I was -- I was aware of the
16
      fact that different types of providers got
17
      different pricing based on who they were,
18
      nonprofit hospitals, governmental entities.                               And
19
      I had really spent very little if no thinking
20
      about what happened in the retail marketplace
21
      until I got to the Medicaid program.
22
               Q.     (BY MR. BERLIN)           At the time that you

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                                                                           Page 223
  1
      were working for the hospital, was it your view
  2
      that AWP was essentially a list price and that
  3
      there were discounts below it for different
  4
      providers?
  5
               A.     I guess to probably characterize my
  6
      thought of that, it was something if you looked
  7
      up a product in the Red Book or the Blue Book,
  8
      whatever it was, you saw a price there, but it
  9
      had no relationship to the price that we might be
10
      paying in our marketplace.
11
               Q.     And then when you started with Colorado
12
      Medicaid, you saw that part of their formula was
13
      based on AWP minus a percent, right?
14
               A.     That was one of the percentages -- that
15
      was one of the factors, yes.
16
               Q.     Did you raise with anyone in the
17
      Medicaid program a concern about using AWP as
18
      part of the reimbursement formula?
19
               A.     I guess not on my first day or probably
20
      -- I'm sure there were discussions about that.                                  I
21
      don't recall -- you know, I think that -- to
22
      point out the fact that when I got to Medicaid

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                                                                           Page 307
  1
               Q.     I understand.         Let me see if this will
  2
      more specifically refresh your memory.
  3
               A.     Okay.
  4
                             (Deposition Exhibit Chapman 003
  5
      was marked.)
  6
               Q.     What I've marked as Chapman Exhibit 3,
  7
      sir, is a copy of a federal regulation.
  8
      Specifically it's a Section 447.301 of Title 42.
  9
               A.     Right.
10
               Q.     I'm going to direct your attention to
11
      that definition there listed for estimated
12
      acquisition cost, and I'll read it for the
13
      record.
14
                      "Estimated acquisition cost means the
15
      agency's best estimate of the price generally and
16
      currently paid by providers for a drug marketed
17
      or sold by a particular manufacturer or labeler
18
      in the package size of drug most frequently
19
      purchased by providers."                Did I read that
20
      correctly --
21
               A.     Yes.
22
               Q.     -- other than getting a little tongue-

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                                                                           Page 308
  1
      tied there?
  2
                      Do you agree that that definition
  3
      comports with your understanding of how the
  4
      federal government has defined estimated
  5
      acquisition cost over the years?
  6
               A.     I remember reading the 42 CFR when I
  7
      first got there.           And I --
  8
               Q.     And --
  9
               A.     And I remember it, you know, being --
10
      and this was basically what we would use when we
11
      would do our state plan, is that it would have to
12
      be in compliance with that.                 But yes, I would
13
      agree with that.
14
               Q.     Well, thank you.           That was going to be
15
      my next --
16
               A.     Yeah.
17
               Q.     -- question.         Did Colorado Medicaid try
18
      to follow the def -- the federal definition of
19
      estimated acquisition cost?
20
               A.     Yes.
21
               Q.     And to your knowledge, over the years
22
      in implementing different reimbursement

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                                                                           Page 309
  1
      methodologies, did Colorado Medicaid try to
  2
      achieve estimated acquisition cost as defined in
  3
      federal regulation?
  4
                      MR. KATZ:       Objection to the form.
  5
               A.     I don't know much about that last piece
  6
      that we've been talking about, those 2002 ones
  7
      where I was not --
  8
               Q.     (BY MR. ANDERSON)           I --
  9
               A.     Okay.
10
               Q.     I understand.         Limiting to --
11
               A.     Limiting to the ones --
12
               Q.     -- your experience --
13
               A.     Limiting to the ones that I had -- I
14
      had contact with and I think that we all worked
15
      with this, and this was essentially part of that
16
      federal review that, you know, when -- that
17
      period of time between when the state submitted
18
      something and the Fed people looked at that is
19
      that they looked at this state plan amendment and
20
      made sure it met with that or it would not get
21
      approved.
22
               Q.     And that was -- at least as you

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                                                                           Page 310
  1
      understood it during your tenure at Colorado
  2
      Medicaid from 1990 through a portion of '95 and
  3
      then 1996 through a portion of 2002 --
  4
               A.     Correct.
  5
               Q.     -- that was the -- your experience?
  6
               A.     Right.
  7
                      MR. KATZ:       Objection to form.
  8
               Q.     (BY MR. ANDERSON)           Is that right, sir?
  9
               A.     That's right.
10
                      MR. KATZ:       Objection to form.
11
               Q.     (BY MR. ANDERSON)           And so as far as you
12
      knew, the conduct and actions of Colorado
13
      Medicaid were consistent with the federal mandate
14
      concerning the definition of estimated
15
      acquisition cost?
16
               A.     That's right.
17
                      MR. KATZ:       Objection to the form.
18
               Q.     (BY MR. ANDERSON)           Okay.      Now I'm going
19
      to have some additional big-picture questions for
20
      you.      Is there any way that Colorado Medicaid
21
      could have manually processed pharmacy
22
      reimbursement claims?

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                                                                           Page 342
  1
               Q.     And do you see down in the lower left-
  2
      hand corner, it says, "Supersedes TN No. 90-03"?
  3
               A.     Yes.
  4
               Q.     And this one's dated effective July 1,
  5
      2001, correct?
  6
               A.     Correct.
  7
               Q.     Does this look like this is the
  8
      reimbursement methodology set forth in this state
  9
      plan that superseded the one that was effective
10
      July 1, 1990?
11
               A.     Yes.
12
               Q.     Thank you.       Are you aware of any drug
13
      companies creating marketing plans based on
14
      incentivizing pharmacies with Medicaid
15
      reimbursement?
16
               A.     No.
17
               Q.     Have you ever been privy to any
18
      communications from any source about drug
19
      companies incentivizing pharmacies with Medicaid
20
      reimbursement?
21
               A.     No.
22
               Q.     Does that seem appropriate in your

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                                                                           Page 343
  1
      view?
  2
               A.     No.
  3
                      MR. KATZ:       Objection to form.
  4
                      MR. BERLIN:        Objection to form.
  5
               A.     No.
  6
               Q.     (BY MR. ANDERSON)           Is there anything
  7
      that you're aware --
  8
                      THE COURT REPORTER:            I'm sorry.            Hold
  9
      on.      Who was objecting on the phone?
10
                      MR. BERLIN:        Eric Berlin for Abbott.
11
                      THE COURT REPORTER:            Thank you.
12
               Q.     (BY MR. ANDERSON)           Is there any
13
      information that you're aware of, Mr. Chapman,
14
      over your years at Colorado Medicaid that would
15
      indicate to you that Colorado Medicaid approved
16
      of drug companies incentivizing pharmacies based
17
      on Medicaid reimbursement?
18
                      MR. KATZ:       Objection to form.
19
               A.     No.
20
                      MR. ANDERSON:         I'll pass the witness.
21
                      MR. KATZ:       I just have a few follow-up
22
      questions.        I'll go first, if you don't mind,

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